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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

American Society of Anesthesiologists, et al.
                                                         Plaintiff,
v.                                                                        Case No.:
                                                                          1:21−cv−06823
                                                                          Honorable Marvin
                                                                          E. Aspen
U.S. Department of Health and Human Services, et al.
                                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 8, 2022:


       MINUTE entry before the Honorable Marvin E. Aspen: Defendants' unopposed
motion to stay proceedings [19] is granted. All current deadlines are stayed through
5/3/2022, by which time the parties shall file a joint status report as to the status of the
case. The status hearing set for 8/4/2022 remains as set. Mailed notice (ags)




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